                    Case 13-80725   Doc 36    Filed 11/14/18    Page 1 of 2



(Rev. 08/18)

                         UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 DURHAM DIVISION

IN RE:                                    )
Pamela S. Jenkins                         )       No. B-13-80725 C-13D
                                          )
                                          )
                                          )
        Debtor(s)                         )

                     NOTICE OF COMPLETION OF PLAN PAYMENTS
                             TO CHAPTER 13 TRUSTEE

      The undersigned Trustee hereby notifies the Court and other interested parties that all
payments to the Trustee have been completed pursuant to the confirmed plan.




Dated: November 14, 2018                          s/Richard M. Hutson, II, Trustee
                                                  Richard M. Hutson, II
                                                  Post Office Box 3613
                                                  Durham, NC 27702
                                                  (919) 688-8065
                   Case 13-80725     Doc 36     Filed 11/14/18    Page 2 of 2



                        UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                DURHAM DIVISION

IN RE:                                      )
Pamela S. Jenkins                           )       No. B-13-80725 C-13D
                                            )
                                            )
                                            )
       Debtor(s)                            )


        THIS IS TO CERTIFY that on the below date, the undersigned served a copy of the
NOTICE OF COMPLETION OF PLAN PAYMENTS TO CHAPTER 13 TRUSTEE by
depositing the same, enclosed in a postpaid wrapper, properly addressed to the following parties
in interest at their last known addresses as shown below, in a post office or official depository
under the exclusive care and custody of the United States Postal Service:


Pamela S. Jenkins
195 Sandy Oak Rd.
Carthage, NC 28327

Brett S. Yauger, Esq.
PO Box 637
Carthage, NC 28327



Dated: November 14, 2018                            s/Richard M. Hutson, II, Trustee
                                                    Chapter 13 Office
                                                    Durham, North Carolina
